                                                                                Motion GRANTED.
                                                                                Hearing reset for
                                                                                9/7/12 at 2:00 p.m.
                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )   Criminal No. 2:11-00002-13
                                                 )   Judge Trauger
EMILY BRADLEY                                    )


                           MOTION TO CONTINUE SENTENCING

       Comes now the Defendant, Emily Bradley, through undersigned counsel, and respectfully
moves the Court for an order continuing the sentencing hearing in this matter which is currently set
for August 6, 2012. For grounds, the Defendant would state that she is currently housed in an in-
patient drug treatment program in Cookeville, Tennessee. The Defendant expects to complete the
28 day program on August 3, 2012. However, the Defendant requests a continuance in order to
allow additional time for the Defendant to prepare for sentencing. Additionally, the Defendant
would state that a continuance of the sentencing hearing in this matter would allow the Court to
make a better determination whether the Defendant has stopped her drug abuse. Counsel for the
Defendant has been advised by Assistant United States Attorney J. Alex Little that the government
does not oppose this motion.

                                                     Respectfully submitted,

                                                     /s/ Roger N. “Bo” Taylor
                                                     ROGER N. “BO” TAYLOR
                                                     Attorney for Emily Bradley
                                                     305 Fourteenth Avenue, North
                                                     Nashville, Tennessee 37203
                                                     (615) 859-0060; Fax: (615) 320-5597
                                                     bo.taylor@305lawoffice.com




Case 2:11-cr-00002        Document 1100         Filed 07/27/12     Page 1 of 1 PageID #: 2683
